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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                            Case No. 8:15-cr-435-T-60AAS

KEVIN L. POWELL,

      Defendant.
________________________________/

            ORDER DENYING DEFENDANT’S “MOTION FOR
        COMPASSIONATE RELEASE PURSUANT TO THE FIRST
      STEP ACT PURSUANT TO 18 USC 3582(C)(1)(A) AND COVID-19”

      This matter is before the Court on Defendant Kevin L. Powell’s “Motion for

Compassionate Release Pursuant to the First Step Act Pursuant to 18 USC

3582(c)(1)(A) and Covid-19,” filed pro se on September 30, 2020. (Doc. 68). On

September 30, 2020, the Court directed the United States to respond to the motion.

(Doc. 70). On October 13, 2020, the Government filed its response. (Doc. 71). After

reviewing the motion, response, case file, and the record, the Court finds as follows:

      On March 17, 2016, Defendant pled guilty to one count of felon in possession

of a firearm as an Armed Career Criminal, in violation of 18 U.S.C. §§ 922(g) and

924(e). (Doc. 32). On July 22, 2016, the Court sentenced Defendant to 180 months

imprisonment. (Doc. 50). Defendant is currently incarcerated at Jesup FCI in

Jesup, Georgia, and he is projected to be released on or about April 16, 2029.

      Following Defendant’s imprisonment, on March 11, 2020, the World Health

Organization characterized COVID-19, also known as the new coronavirus, as a

pandemic. Two days later, on March 13, 2020, the President of the United States
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officially declared a national emergency due to the virus.

      In his motion, Defendant requests that the Court modify or reduce his

sentence to release him from federal prison due to health concerns, the spread of

Covid-19 among incarcerated persons, and the Bureau of Prison’s inadequate

response to the Covid-19 pandemic. Specifically, Defendant claims that, as a

longtime smoker, he has developed emphysema, which causes “abnormal dilation of

air sacs” and “shortness of breath” and puts him at higher risk of significant

symptoms from COVID-19. Defendant contends that he is not a risk to the public if

released, and he faces serious and unavoidable health problems if he were to remain

incarcerated for the remainder of his sentence. Defendant seeks release under 18

U.S.C. § 3582(c)(1)(A), sometimes referred to as “compassionate release.”

      A district court is not free to modify a term of imprisonment once it has been

imposed, except upon motion of the Director of the Bureau of Prisons (“BOP”); or

upon motion by the defendant, after he has fully exhausted all administrative rights

to appeal a failure of the BOP to bring a motion on his behalf, or 30 days has

elapsed from receipt of such a request by the warden of the defendant’s facility,

whichever is earlier. 18 U.S.C. § 3582(c)(1)(A); see also United States v. Celedon,

353 F. App’x 278, 280 (11th Cir. 2009). To warrant a reduction of his sentence in

this case, Defendant must present “extraordinary and compelling reasons.” 18

U.S.C. § 3582(c)(1)(A)(i).

      After reviewing the applicable law and facts presented here, the Court finds

that Defendant is not entitled to relief. Although he has exhausted his


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administrative remedies, the Court finds that Defendant has not demonstrated

extraordinary and compelling reasons warranting a modification of his sentence

based on his medical condition. 1 Defendant is a 52-year old offender with a lengthy

prior criminal history. He has not explained how his medical condition

substantially diminishes his ability to provide self-care in his correctional facility.

In fact, his medical records indicate that his condition is being treated and managed

within BOP. (Doc. 68-1). Moreover, “[g]eneral concerns about possible exposure to

COVID-19 do not meet the criteria for extraordinary and compelling reasons for a

reduction in sentence set forth in the Sentencing Commission’s policy statement on

compassionate release, U.S.S.G. § 1B1.13.” See United States v. Eberhart, No. 13-

cr-00313-PJH-1, 2020 WL 1450745, at *2 (N.D. Cal. Mar. 25, 2020); see also United

States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (“But the mere existence of COVID-

19 in society and the possibility that it may spread to a particular prison alone

cannot independently justify compassionate release, especially considering BOP’s

statutory role, and its extensive and professional efforts to curtail the virus’s

spread.”)




1 In USSG § 1B1.13, the Sentencing Commission has set specific examples of “extraordinary
and compelling reasons” that may qualify a defendant for compassionate release, including:
(1) the defendant suffers from a terminal illness or a serious physical or medical condition
that substantially diminishes his ability to provide self-care and from which the defendant
is not expected to recover; (2) the defendant is at least 65 years old and experiencing a
serious deterioration in his physical or mental health, and he has served at least 10 years
or 75% of his prison sentence; (3) particular family circumstances; and (4) other reasons as
determined by the BOP.

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      Finally, even if Defendant could establish an extraordinary or compelling

reason for compassionate release, the applicable section 3553(a) factors weigh

strongly against granting compassionate release in this case. Specifically,

Defendant cannot satisfy his burden of demonstrating that he is not a danger to the

community – he was sentenced as an Armed Career Criminal based on his lengthy

criminal history, which includes ten convictions for the sale of cocaine and a

conviction for throwing a deadly missile. (Doc. 45). Consequently, Defendant’s

“Motion for Compassionate Release Pursuant to the First Step Act Pursuant to 18

USC 3582(c)(1)(A) and Covid-19” is hereby DENIED.

      DONE AND ORDERED in Chambers, in Tampa, Florida, this 21st day of

October, 2020.




                                            TOM BARBER
                                            UNITED STATES DISTRICT JUDGE




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